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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION


 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 VS.                                             §    CASE NO. 9:11-CR-23(7)
                                                 §
 LEOCADIO GARCIA RIVERA                          §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

 felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

 States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On August 10, 2011, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the defendant, on Count Six of the charging Superseding

 Indictment filed in this cause.


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        Count Six of the Superseding Indictment charges that on or about January 18, 2011, in

 the Eastern District of Texas, Eleazar Estrada and Leocadio Garcia Rivera, defendants, aided and

 abetted by one another, did unlawfully, knowingly, and intentionally possess with the intent to

 distribute a mixture or substance containing a detectable amount of cocaine, a Schedule II

 controlled substance, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

        Defendant, Leocadio Garcia Rivera, entered a plea of guilty to Count Six of the

 Superseding Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an



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 independent factual basis establishing each of the essential elements of the offense and Defendant

 realizes that his conduct falls within the definition of the crime charged under 21 U.S.C.

 § 841(a)(1).

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual

 resume. See The Factual Resume. In support, the Government and Defendant stipulated that if

 this case were to proceed to trial the Government would prove beyond a reasonable doubt,

 through the sworn testimony of numerous witnesses, each and every essential element of the

 crime charged in Count Six of the Superseding Indictment Specifically, the Government and

 Defendant agreed that the Government would prove that Leocadio Garcia Rivera possessed with

 intent to distribute a controlled substance.      The Court incorporates the proffer of evidence

 described in detail in the factual resume in support of the guilty plea.

        Defendant, Leocadio Garcia Rivera, agreed with and stipulated to the evidence presented

 in the factual resume.     Counsel for Defendant and the Government attested to Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with the

 evidence presented by the Government and personally testified that he was entering his guilty

 plea knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential



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 elements of the offense charged in Count Six of the charging Superseding Indictment on file in

 this criminal proceeding. The Court also recommends that the District Court accept the plea

 agreement.1 Accordingly, it is further recommended that, Defendant, Leocadio Garcia Rivera, be

 finally adjudged as guilty of the charged offense under Title 21, United States Code, Section

 841(a)(1).

          Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

 the District Court may reject the plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity to

 consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is rejected

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            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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 and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

 Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

 before the District Court before imposition of sentence.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

 (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1).

        A party’s failure to object bars that party from: (1) entitlement to de novo review by a

 district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to
     .
 factual findings and legal conclusions accepted by the district court, see Douglass v. United Servs.

 Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded

 by Congress and the courts require that, when a party takes advantage of his right to object to a

 magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority

 by considering the actual evidence and not merely by reviewing and blindly adopting the

 magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                       SIGNED this the 11st day of August, 2011.




                                                            ____________________________________
                                                            KEITH F. GIBLIN
                                                            UNITED STATES MAGISTRATE JUDGE


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